       Case 1:24-mj-00885-DH         Document 12         Filed 12/18/24     Page 1 of 42


                                                                                              CLOSED
                         U.S. District Court [LIVE]
                      Western District of Texas (Austin)
             CRIMINAL DOCKET FOR CASE #: 1:24−mj−00885−DH−1

Case title: USA v. Sobash                                       Date Filed: 12/13/2024

Other court case number: 3:24−00217 Middle District of          Date Terminated: 12/18/2024
                         Tennessee− Nashville Division

Assigned to: Judge Dustin M.
Howell

Defendant (1)
Philip Taylor Sobash                   represented by Angelica Cogliano
TERMINATED: 12/18/2024                                Cogliano & Miro, PLLC.
                                                      505 W. 12th Street
                                                      Suite 206
                                                      Austin, TX 78701
                                                      512−375−3303
                                                      Fax: 877−497−8347
                                                      Email: angelica@coglianolaw.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Pending Counts                                           Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                        Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                               Disposition
18:2422.F−COERCION OR
ENTICEMENT OF
FEMALE/MALE


 Case 3:24-cr-00217            Document 8   Filed 12/19/24        Page 1 of 3 PageID #: 18
                                                                                                       1
      Case 1:24-mj-00885-DH        Document 12         Filed 12/18/24      Page 2 of 42




Plaintiff
USA                                           represented by Gabriel Aaron Cohen
                                                             U.S. Attorney's Office
                                                             903 San Jacinto Blvd., Suite 334
                                                             Austin, TX 78701
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                                                             Fax: 512−916−5854
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                                                             LEAD ATTORNEY
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                                                              Sharon S. Pierce
                                                              Assistant United States Attorney
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                                                              Email: sharon.pierce@usdoj.gov
                                                              TERMINATED: 12/13/2024
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Retained

 Date Filed   #   Docket Text
 12/13/2024   1   Arrest (Rule 5/Rule 32.1) of Philip Taylor Sobash (SL) (Entered: 12/13/2024)
 12/13/2024   2   MOTION to Detain Defendant without Bond by USA as to Philip Taylor Sobash. (SL)
                  (Entered: 12/13/2024)
 12/13/2024   3   NOTICE OF ATTORNEY APPEARANCE Gabriel Aaron Cohen appearing for USA.
                  . Attorney Gabriel Aaron Cohen added to party USA(pty:pla) (Cohen, Gabriel)
                  (Entered: 12/13/2024)
 12/13/2024   4   Memorandum in support of by USA as to Philip Taylor Sobash re 2 MOTION to
                  Detain Defendant without Bond (Cohen, Gabriel) (Entered: 12/13/2024)
 12/13/2024   5   Minute Entry for proceedings held before Judge Dustin M. Howell:Initial Appearance
                  in Rule 5(c)(3)/ Rule 32.1 Proceedings as to Philip Taylor Sobash held on 12/13/2024
                  (Minute entry documents are not available electronically.) (Court Reporter FTR−ERO
                  Gold.) (SL) (Entered: 12/13/2024)
 12/13/2024   6   NOTICE OF HEARING as to Philip Taylor Sobash Detention Hearing set for
                  12/18/2024 10:00 AM in Austin before Judge Dustin M. Howell, (SL) (Entered:
                  12/13/2024)
 12/13/2024       ORAL WAIVER OF IDENTITY HEARING by Philip Taylor Sobash (SL) (Entered:
                  12/13/2024)
 12/17/2024   7   NOTICE OF ATTORNEY APPEARANCE: Angelica Cogliano appearing for Philip
                  Taylor Sobash . Attorney Angelica Cogliano added to party Philip Taylor
                  Sobash(pty:dft) (Cogliano, Angelica) (Entered: 12/17/2024)

 Case 3:24-cr-00217       Document 8        Filed 12/19/24      Page 2 of 3 PageID #: 19
                                                                                                         2
    Case 1:24-mj-00885-DH          Document 12        Filed 12/18/24      Page 3 of 42



12/18/2024    8   Minute Entry for proceedings held before Judge Dustin M. Howell:Detention Hearing
                  as to Philip Taylor Sobash held on 12/18/2024 (Minute entry documents are not
                  available electronically.) (Court Reporter FTR−ERO Gold.) (SL) (Entered:
                  12/18/2024)
12/18/2024    9   Order Regarding Due Process Protections Act as to Philip Taylor Sobash. Signed by
                  Judge Dustin M. Howell. (SL) (Entered: 12/18/2024)
12/18/2024   10   ORDER GRANTING 2 Motion to Detain Defendant without Bond. as to Philip Taylor
                  Sobash (1). Signed by Judge Dustin M. Howell. (SL) (Entered: 12/18/2024)
12/18/2024   11   COMMITMENT TO ANOTHER DISTRICT as to Philip Taylor Sobash. Defendant
                  committed to Middle District of Tennessee, Nashville Division.. Signed by Judge
                  Dustin M. Howell. (SL) (Entered: 12/18/2024)




Case 3:24-cr-00217        Document 8       Filed 12/19/24       Page 3 of 3 PageID #: 20
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